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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 ELLSWORTH ASSOC., LLP., U. S. OF A.,            :
 EX REL. ELLSWROTH ASSOC., LLP,                  :
                                                 :
         Plaintiff,                              :
                                                 :             CIVIL ACTION
                v.                               :
                                                 :             NO. 19-2553
 CVS HEALTH CORP.,                               :
                                                 :
         Defendant.                              :
                                                 :

                                            ORDER

       AND NOW, this 12th day of December, 2023, upon consideration of Plaintiff’s Motion to

Modify May 23, 2023 Scheduling Order (ECF No. 105), it is hereby ORDERED that this

Court’s May 23, 2023 Scheduling Order is amended as follows:

       1.      All fact discovery shall be completed by Friday, August 23, 2024.

       2.      The parties shall produce their expert report(s) by Friday, October 4, 2024;

rebuttal expert report(s) shall be produced by Monday, November 4, 2024; all expert discovery,

including all depositions of expert witnesses, shall be completed by Friday, December 20, 2024.

       3.      All motions for summary judgment and Daubert motions shall be filed no later

than Monday, February 24, 2025. Responses to such motions shall be filed no later than

Tuesday, March 25, 2025.

       4.      The Final Pretrial Conference is scheduled for Tuesday, July 8, 2025 at 10:00

A.M. Counsel shall appear by remote video and will be notified by Chambers via email with

instructions on how to participate remotely. No later than seven (7) days before the Final

Pretrial Conference, the parties shall file their Pretrial Memoranda in accordance with Local

Rule of Civil Procedure 16.1(c) and Judge Younge’s Policies and Procedures. A trial date, and
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deadlines for other pretrial submissions (such as exhibits, jointly proposed voir dire and jury

instructions, and motions in limine), will be set by the Court at, or shortly after, the Final Pretrial

Conference.

       IT IS SO ORDERED.


                                                       BY THE COURT:

                                                       /s/ John Milton Younge
                                                       Judge John Milton Younge
